oey ooowty Case 1:20-cv-07311-LAK OWUUOQQVER SHEED 09/08/20 Page 1 of 2

The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or
other papers as required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the
United States in September 1974, is required for use of the Clerk of Court for the purpose of initiating the civil docket sheet.

PLAINTIFFS DEFENDANTS

E. JEAN CARROLL UNITED STATES OF AMERICA

ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER ATTORNEYS (IF KNOWN)

Robert A. Kaplan, Kaplan, Hecker & Fink, LLP, 350 Fifth Ave., Suite Stephen R. Terrell, U.S. Dep't of Justice, Civil Division, T-FTCA, P.O.
7110, New York, NY 10118, (212) 763-0883 Box 888, Washington, DC 20044, (202) 353-1651

CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE)
(DO NOT CITE JURISDICTIONAL STATUTES UNLESS DIVERSITY)

28 U.S.C. 2679(d)(2)

Judge Previously Assigned
Has this action, case, or proceeding, or one essentially the same been previously filed in SDNY at any time? No MyesQ]

If yes, was this case Vol.{_] Invol. [7] Dismissed. No[_] Yes [[] Ifyes, give date & Case No.

Is THIS AN INTERNATIONAL ARBITRATION CASE? No [] Yes []
(PLACE AN [x] IN ONE BOX ONLY) NATURE OF SUIT
TORTS ACTIONS UNDER STATUTES
CONTRACT PERSONAL INJURY PERSONAL INJURY FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
[ 1367 HEALTHCARE!
[]110 INSURANCE [ ] 310 AIRPLANE PHARMACEUTICAL PERSONAL | ) 625 DRUG RELATED [ }422 APPEAL [ ]375 FALSE CLAIMS
{ ]120 MARINE { ]315 AIRPLANE PRODUCT = INJURY/PRODUCT LIABILITY“ ce izuRE OF PROPERTY 28 USC 158 [ 1376 QUI TAM
[ ] 130 MILLER ACT LIABILITY { ]365 PERSONAL INJURY 24 USC BAI [ ]423 WITHDRAWAL [ ]400 STATE
[ } 140 NEGOTIABLE | } 320 ASSAULT, LIBEL & PRODUCT LIABILITY 1 1 699 OTHER 28 USC 187 REAPPORTIONMENT
INSTRUMENT SLANDER [ ] 368 ASBESTOS PERSONAL [ ] 410 ANTITRUST
[ ] 150 RECOVERY OF __[ ] 330 FEDERAL INJURY PRODUCT [ ]430 BANKS & BANKING
OVERPAYMENT & EMPLOYERS’ LIABILITY PROPERTY RIGHTS [ ]450 COMMERCE
ENFORCEMENT LIABILITY { ] 460 DEPORTATION
OF JUDGMENT —[ ] 340 MARINE PERSONAL PROPERTY [ ] 820 COPYRIGHTS [ ]470 RACKETEER INFLU-
[} 151 MEDICARE ACT —_{ ]. 345 MARINE PRODUCT [ ]830 PATENT ENCED & CORRUPT
[ } 152 RECOVERY OF LIABILITY { ]370 OTHER FRAUD 7 ' ORGANIZATION ACT
DEFAULTED [ 1350 MOTOR VEHICLE [1371 TRUTHINLENDING —‘[: 1 835 PATENT-ABBREVIATED NEW DRUG APPLICATION (RICO}
STUDENT LOANS = [ ] 355 MOTOR VEHICLE [ ] 840 TRADEMARK [ ]}480 CONSUMER CREDIT
(EXCL VETERANS) PRODUCT LIABILITY SOCIAL SECURITY ( ]490 CABLE/SATELLITE TV
[ 153 RECOVERY OF [x] 360 OTHER PERSONAL
OVERPAYMENT INJURY [ ]380 OTHER PERSONAL — LABOR { ]861 HIA (139561) [ ] 850 SECURITIES
OF VETERAN'S —_[ ] 362 PERSONAL INJURY - PROPERTY DAMAGE { ]862 BLACK LUNG (923) COMMODITIES/
BENEFITS MED MALPRACTICE [ ]385 PROPERTY DAMAGE { ] 710 FAIRLABOR [ ] 863 DIWC/DIWW (405(q)) EXCHANGE
{ ] 160 STOCKHOLDERS PRODUCT LIABILITY STANDARDS ACT _[ ] 864 SSID TITLE XVI
SUITS [ ] 720 LABOR/MGMT [ ] 865 RSI (405(g))
[]190 OTHER PRISONER PETITIONS RELATIONS { ] 890 OTHER STATUTORY
CONTRACT { } 463 ALIEN DETAINEE [ ] 740 RAILWAY LABOR ACT ACTIONS
{1195 CONTRACT { ]510 MOTIONS TO |] 751 FAMILY MEDICAL FEDERAL TAX SUITS [ ]891 AGRICULTURAL ACTS
PRODUCT ACTIONS UNDER STATUTES VACATE SENTENCE | gave ACT (FMLA)
LIABILITY 28 USC 2255 [ ]870 TAXES (U.S. Plaintiff or
[ ]196 FRANCHISE CIVIL RIGHTS [ | 530 HABEAS CORPUS [ ]780 OTHER LABOR Defendant) { ]893 ENVIRONMENTAL
[ ]535 DEATH PENALTY LITIGATION [ ]871 IRS-THIRD PARTY MATTERS
[ ]540 MANDAMUS & OTHER [ ]791 EMPL RET INC 26 USC 7609 895 FREEDOM OF
[ 1440 (NonPrisoner) nS SECURITY ACT (ERISA) Meee A EORMATION ACT
REAL PROPERTY [ ] 896 ARBITRATION
{ ]441 VOTING IMMIGRATION [ ] 899 ADMINISTRATIVE
[ 210 LAND [ ] 442 EMPLOYMENT PRISONER CIVIL RIGHTS
CONDEMNATION — [ ] 443 HOUSING/ [ ]462 NATURALIZATION PROCEDURE ACTIREVIEW OR
[ }220 FORECLOSURE (144s [ACCOMMODATIONS [ ] 550 CIVIL RIGHTS APPLICATION APPEAL OF AGENCY DECISION
{ 1230 RENT LEASE & [ ]555 PRISON CONDITION —_[ } 465 OTHER IMMIGRATION
EJECTMENT DISABILITIES - { ] 560 CIVIL DETAINEE ACTIONS ee oe TeS ONALITY OF
[]240 TORTS TO LAND EMPLOYMENT CONDITIONS OF CONFINEMENT
[ ]245 TORT PRODUCT [ ]446 AMERICANS WITH
LIABILITY DISABILITIES -OTHER
[ } 290 ALL OTHER [ } 448 EDUCATION

REAL PROPERTY

Check if demanded in complaint:
DO YOU CLAIM THIS CASE IS RELATED TO A CIVIL CASE NOW PENDING IN S.D.N.Y.

 

 

 

 

CHECK IF THIS IS ACLASS ACTION AS DEFINED BY LOCAL RULE FOR DIVISION OF BUSINESS 13?
UNDER F.R.C.P. 23 IF SO, STATE:
DEMAND $ OTHER JUDGE : DOCKET NUMBER29-Cv-7311

 

Check YES only if demanded in complaint
JURY DEMAND: C] yes LNO NOTE: You must also submit at the time of filing the Statement of Relatedness form (Form IH-32).
Case 1:20-cv-07311-LAK Document 2 Filed 09/08/20 Page 2 of 2

(PLACE AN x IN ONE BOX ONLY) ORIGIN
C)1 Original [x] 2 Removed from []3 Remanded L] 4 Reinstated or | 5 Transferred from [1] 6 litigation Cc sees fom
; ify Distri
Proceeding State Court from Reopened (Specify District) (Transferred) Magistrate Judge

Appellate
| a. allparties represented = Court

Cc] b. Atleast one party

| 8 Multidistrict Litigation (Direct File)

is pro se.
(PLACE AN x IN ONE BOX ONLY) BASIS OF JURISDICTION IF DIVERSITY, INDICATE
CL 1 (U.S. PLAINTIFF [x] 2 U.S. DEFENDANT Cl 3 FEDERAL QUESTION C14 DIVERSITY CITIZENSHIP BELOW.

(U.S. NOT A PARTY)

CITIZENSHIP OF PRINCIPAL PARTIES (FOR DIVERSITY CASES ONLY)

(Place an [X] in one box for Plaintiff and one box for Defendant)

PTF DEF PTF DEF PTF DEF

CITIZEN OF THIS STATE {]1 (314 CITIZEN OR SUBJECT OF A []3[}3 INCORPORATED and PRINCIPAL PLACE []5 []5
FOREIGN COUNTRY OF BUSINESS IN ANOTHER STATE

CITIZEN OF ANOTHER STATE []2 []2 INCORPORATED or PRINCIPAL PLACE [ ]4[]4 FOREIGN NATION {16 []6

OF BUSINESS IN THIS STATE

PLAINTIFF(S) ADDRESS(ES) AND COUNTY(IES)

DEFENDANT(S) ADDRESS(ES) AND COUNTY(IES)

DEFENDANT(S) ADDRESS UNKNOWN

REPRESENTATION IS HEREBY MADE THAT, AT THIS TIME, | HAVE BEEN UNABLE, WITH REASONABLE DILIGENCE, TO ASCERTAIN
THE RESIDENCE ADDRESSES OF THE FOLLOWING DEFENDANTS:

COURTHOUSE ASSIGNMENT
| hereby certify that this case should be assigned to the courthouse indicated below pursuant to Local Rule for Division of Business 18, 20 or 21.

Check one: THIS ACTION SHOULD BE ASSIGNED TO: [-] WHITE PLAINS [x] MANHATTAN

DATE 99/08/2020 s o é Tae ADMITTED TO PRACTICE IN THIS DISTRICT

GNATURE OF ATTORNEY OF RECORD [] NO
[x] YES (DATE ADMITTED Mo. Yr. )
RECEIPT # Attorney Bar Code #U.S. Govt. Atty LR 1.3(c)

Magistrate Judge is to be designated by the Clerk of the Court.
Magistrate Judge is so Designated.

Ruby J. Krajick, Clerk of Court by Deputy Clerk, DATED

UNITED STATES DISTRICT COURT (NEW YORK SOUTHERN)
